                Case: 1:13-cr-00110-SNLJ Doc. #: 72 Filed: 10/14/14 Page: 1 of 7 PageID #: 284
AO 2458 (Rev 09/12)

  Sheet 1- Judgment in a Criminal Case

                                                                                                                                  FJlI'~»'~
                                         United States District Court                                                               x 1l~ ~ L/'



                                                       Eastern District of Missouri
                      UNITED STATES OF AMERICA
                                         v
                                                                        JUDGMENT IN A CRIMINAL CASE
                      DANIEL WARREN
                                                                       CASE NUMBER:          l:13CROOllOSNLJ
                                                                            USM Number: 41473-044
                                                                                             ~~-----------------------
  THE DEFENDANT:                                                            Stephen C. Wilson
                                                                            Defendant's Attorney
  D      pleaded guilty to count(s)
  D      pleadednolocon~ndere~coun«s)              __~__________________~_____________________________________
         which was accepted by the court.
  I"J'I was found guilty on 90unt(s) one (1) and two (2) of the superseding indictment on July 15,2014
  ~    after a plea of not gUilty
  The defendant is adjudicated guilty of these offenses:
                                                                                                          Date Offense   Count
 Title & Section                               Nature of Offense                                          Concluded    Number(s)
18:2252A(a)(5)(B) and 2252A(b )(2)           Possession of Child Pornography                          1114111



18:2252A(a)(2) and 2252A(b)(l)               Receipt of Child Pornogrophy                             11115/10                2




       The defendant is sentenced as provided in pages 2 through _6_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.

  D     The defendant has been found not guilty on count(s)

  D     Count(s) ____________________                                        dismissed on the motion of the United States.

 It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
 mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
 restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                             October 14,2014
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge

                                                                               STEPHEN N, LIMBAUGH, JR.
                                                                              UNITED STATES DISTRICT JUDGE
                                                                             Name & Title of Judge


                                                                             October 14, 2014
                                                                             Date signed

   Record No.: 220
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                                    SheetDoc.
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                                                                                                       Judgment-Page _2_       of   _6__

DEFENDANT: DANIEL WARREN
CASE NUMBER: 1:13CROOIIOSNLJ
District:   Eastern District of Missouri
                                                        IMPRISONMENT
    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 10 MONTHS

This term consists of a term of 120 months as to count one and 210 months as to count two, such terms to be served concurrently.




I:8J   The court makes the following recommendations to the Bureau of Prisons:

While in the custody of the Bureau of Prisons, it is recommended that the defendant be evaluated for participation in a sex offender
treatment program,the court further recommends placement at FMC Springfield, or close to the Poplar Bluff, MO area, if this is consistent
with the Bureau of Prisons pol icies.



I:8J   The defendant is remanded to the custody of the United States Marshal.


D      The defendant shall surrender to the United States Marshal for this district:

            at
                 - - - - - - a.m.ipm on
       D    as notified by the United States Marshal.




                              MARSHALS RETURN MADE ON SEPARATE PAGE
              Case: 1:13-cr-00110-SNLJ Doc. #: 72 Filed: 10/14/14 Page: 3 of 7 PageID #: 286
                                                                                                             Judgment·Page     3     or _6__
DEFENDANT: DANIEL WARREN
CASE NUMBER: 1:I3CROOIIOSNLJ
District:   Eastern District of Missouri
                                                   SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of TEN                    I   YEARS

This term consists of a term of 10 years on each of counts one and two, such terms to run concurrently




    The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
    the custody of the Bureau of Prisons.
    The defendant shall not commit another federal, state, or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
     controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
     periodic drug tests thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
            of future substance abuse. (Check, if applicable.)
            The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
      D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
   If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay in
   accordance with the Schedule of Payments sheet of this judgment

   The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
   conditions on the attached page.


                                  STANDARD CONDITIONS OF SUPERVISION
 I) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4) the defendant shall support his or her dependents and meet other family responsibilities;
 5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
 acceptable reasons;
 6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
 substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
 of a felony unless granted permission to do so b;, the probation officer;
10) the defendant shall permit a probation offIcer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency
     without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
     defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
     notifications and to confirm the defendant's compliance with such notification requirement.
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AO 2459 (Rev. 09112)   Judgment in Criminal Case   Sheet 3C - Supervised Release

                                                                                                                               4_ of
                                                                                                               Judgment-Page _ _            6

   DEFENDANT: DANIEL WARREN
   CASE NUMBER: 1:13CROOllOSNLJ
   District: Eastern District of Missouri

                                             SPECIAL CONDITIONS OF SUPERVISION
 While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply with
 the following additional conditions. If it is detennined there are costs associated with any services provided, the defendant shall pay those
 costs based on a co-payment fee established by the probation office.

  The defendant shall participate in a mental health evaluation and shall follow any recommendations of such and/or shall participate in a
  mental health program approved by the probation office.

  The defendant shall participate in a sex-offense specific treatment program. The defendant shall enter, cooperate, and complete said
  program until released by the probation office. During the course of said treatment, the defendant shall be subject to periodic and random
  physiological testing which may include but is not limited to polygraph testing and/or other specialized assessment instruments.

  The defendant shall comply with all federal, state, and local sex offender registration laws and provide verification of registration to the
  probation office.

  The defendant shall be prohibited from contact with children under the age of 18 without the prior written pennission of the probation
  office and shall report to the probation office immediately, but in no event later than 24 hours, any unauthorized contact with children
  under the age of 18.

  The defendant shall be prohibited from engaging in any occupation, business, profession, or volunteer work where he has access to
  children under the age of 18 without prior written approval from the probation office.

  The defendant shall not frequent, loiter, or reside within 500 feet of schools, parks, playgrounds, arcades, daycare facilities or other places
  frequented by children under the age of 18, without prior written approval from the probation office.

  The defendant shall not possess obscene material as deemed inappropriate by the probation office and/or treatment staff, or patronize any
  place where such material or entertainment is available.

  The defendant shall submit his person, residence, office, computer, or vehicle to a search, conducted by the probation office based upon
  reasonable suspicion of contraband or evidence of a violation of a condition of release. The defendant shall warn any other residents that
  the premises may be subject to searches pursuant to this condition.

  The defendant shall not possess or use a computer, peripheral equipment, gaming equipment, cellular devices, or any other device with
  access to any "on line computer services," or subscribe to or use any Internet service, at any location (including employment) without the
  written approval of the probation office. If approval is given, the defendant shall consent to the probation office or probation service
  representative conducting unannounced examinations, including retrieval and copying of all data, of any computer(s) or computer related
  equipment to which the defendant has access, including web enabled cell phones and gaming systems to insure compliance with this
  condition and/or removal of such equipment for the purpose of conducting a more thorough inspection.

  The defendant shall not purchase or maintain a post office box, any other type of private mail box or any type of storage locker, unit or
  facility without written approval of the probation office.

  The defendant shall participate in educational services program(s) as directed by the probation office. Such program(s) may include High
  School Equivalency preparation, Adult Basic Education, Literacy, and other classes designed to improve the defendant's educational
  proficiency
                Case: 1:13-cr-00110-SNLJ Doc. #: 72 Filed: 10/14/14 Page: 5 of 7 PageID #: 288
AO 245B (Rev. 09/12)   Judgment in Criminal Case     Sheet 5 - Criminal Monetary Penalties
                                                                                                                           Judgment-Page   _5_   of   _6__
 DEFENDANT: DANIEL WARREN
 CASE NUMBER: 1:13CROOIIOSNLJ
 District:      Eastern District of Missouri
                                                   CRIMINAL MONETARY PENALTIES
 The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6
                                                  Assessment                             Fine                                      Restitution

                                                          $200.00
                Totals:

 o      The determination of restitution is deferred until
        will be entered after such a determination.                    ----­                 . An Amended Judgment in a Criminal Case (AO 245C)



  o     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
 otherwise in the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(i), all nonfederal
 victims must be paid before the United States is paid.

 Name of Payee                                                                                Total Loss*      Restitution Ordered Priority or Percentage




 o     Restitution amount ordered pursuant to plea agreement




 D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
   before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 o     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         o      The interest requirement is waived for the.                 0      fine                0    restitution.
                The interest requirement for the      0     fine     0      restitution is modified as follows:




    * Findings for the total amount of losses are required under Chapters 109A, 110, IIOA, and 1I3A of Title 18 for offenses
  committed on or after September 13, 1994 but before April 23, 1996.
                  Case: 1:13-cr-00110-SNLJ     Doc. #: 72 Filed: 10/14/14 Page: 6 of 7 PageID #: 289
                                        Sheet 6 - Schedule of Payments
AO 245B (Rev, 09/12)    Judgment in Criminal Case

                                                                                                                                  Judgment-Page      6     of   _6__
  DEFENDANT: DANIEL WARREN
  CASE NUMBER: 1:13CROOllOSNLJ
  District:       Eastern District of Missouri
                                                                SCHEDULE OF PAYMENTS
       Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
   A   181    Lump sum payment of ...;;$..;;;2.;..00,;.;•.;..00...-_ __       due immediately, balance due

                                      o     not later than                                       , or
                                      o     in accordance with            0     C,   0   D, or     o    E below; or   0 F below; or
  B0         Payment to begin immediately (may be combined with                              0   C,     0     D, or    0 E below; or 0       F below; or
  C0         Payment in equal                           (e.g., equal, weekly, monthly, quarterly) installments of                              over a period of

           - - - - - - e.g., months or years), to commence                                               (e.g., 30 or 60 days) after the date of this judgment; or

  D    0   Payment in equal                        (e.g., equal, weekly, monthly, quarterly) installments of                       over a period of
                                   e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
       term of supervision; or
 E     0     Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after Release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or
  F    0      Special instructions regarding the payment of criminal monetary penalties:



   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
   during the period of imprisonment. All criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
   Inmate Financial Responsibility Program are made to the clerk of the court.

   The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.




   o       Joint and Several
              Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
              and corresponding payee, if appropriate.




           The defendant shall pay the cost of prosecution.
  D
   o       The defendant shall pay the following court cost(s):




           The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
        Case: 1:13-cr-00110-SNLJ Doc. #: 72 Filed: 10/14/14 Page: 7 of 7 PageID #: 290
                                                         DEFENDANT: DANIEL WARREN
                                                         CASE NUMBER: l:13CROOIlOSNLJ
                                                         USMNumber:   41473-044
                                                                      ~~~~--------------

                              UNITED STATES MARSHAL
                        RETURN OF JUDGMENT IN A CRIMINAL CASE

I have executed this judgment as follows:




The Defendant was delivered on _________ to ______________________

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, with a certified copy of this judgment.



                                                         UNITED STATES MARSHAL


                                                   By
                                                            Deputy U.S. Marshal



o      The Defendant was released on ________ to_ _ _ _ _ _ _ _ Probation

o      The Defendant was released on _________ to_ _ _ _ _ _ _ _ Supervised Release

o      and a Fine of_ _ _ _ _ _ _           0 and Restitution in the amount of_ _ _ _ _ _ __


                                                         UNITED STATES MARSHAL


                                                    By
                                                            Deputy U.S. Marshal


I certify and Return that on _______, I took custody of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

at ______________ and delivered same to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

on _________________ F.F.T. ____________________

                                                         U.S. MARSHAL ElMO

                                                     By DUSM _ _ _ _ _ _ _ _ __
